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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                 DANVILLE DIVISION

STEPHANIE B. HALL,                                    )
                                                      )   Case No. 4:05CV00050
               Plaintiff,                             )
                                                      )
v.                                                    )   ORDER
                                                      )
WAL-MART STORES EAST, LP.,                            )
                                                      )   By: Jackson L. Kiser
               Defendant.                             )       Senior United States District Judge
                                                      )
                                                      )
                                                      )

       For the reasons stated in the record at trial on Monday, May 22, 2006, Defendant’s

Motion for Judgment as a Matter of Law pursuant to Fed. R. Civ. P. 50(a) is GRANTED.

       The Clerk is hereby ordered to dismiss this case with prejudice from the active docket of

this court. The Clerk is further directed to send a copy of this Order to all counsel of record.

       Entered this 22nd day of May, 2006.



                                                      s/Jackson L. Kiser
                                                      Senior United States District Judge
